     Case: 1:20-cv-02914 Document #: 30 Filed: 06/30/20 Page 1 of 1 PageID #:77

                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

'DWH 6/30/20                                  &DVH1R 20-cv-2914

&DVH7LWOH                                   -XGJH Tharp
               Ali v. City Of Chicago et al

                                    NOTICE OF CORRECTION

The following error was found in document no. 28

     ✔ 7KHGRFXPHQWKDVEHHQILOHGLQWKHLQFRUUHFWFDVH
       7KHGRFXPHQWLVILOHGLQWKHFRUUHFWFDVHEXWWKHFDVHQXPEHUDQGFDVHWLWOHGRQRWPDWFK
       7KHLQFRUUHFWGRFXPHQW 3')ILOH ZDVOLQNHGWRWKHHQWU\
       7KHLQFRUUHFWILOHGDWHZDVHQWHUHG
       7KHLQFRUUHFWW\SHRIHYHQWZDVXVHGWRGHVFULEHWKHGRFXPHQW
       7KHWLWOHRIWKHGRFXPHQWGRHVQRWPDWFKWKHWH[WRIWKHHQWU\
       7KHHQWU\LVDGXSOLFDWHRIHQWU\QR
       2WKHU


Corrective action taken by the Clerk:

     ✔ 7KHWH[WRIWKHHQWU\KDVEHHQHGLWHGDQGWKH3')ILOHKDVEHHQUHSODFHG
       7KHIROORZLQJQRWDWLRQKDVEHHQDGGHGWRWKHWH[WRIWKHHQWU\ Linked document has the
       incorrect case title or linked document has the incorrect case number
       7KHFRUUHFWGRFXPHQW 3')ILOH KDVEHHQOLQNHGWRWKHHQWU\
       7KHILOHGDWHKDVEHHQFRUUHFWHG
       7KHWH[WRIWKHHQWU\KDVEHHQHGLWHG
       7KHWH[WRIWKHHQWU\KDVEHHQHGLWHGWRUHDG³'XSOLFDWHILOLQJRIGRFXPHQWQXPEHU´
       2WKHU


Corrective action required by the filer:
      7KHGRFXPHQWPXVWEHUHILOHG
      2WKHU




                                               7KRPDV*%UXWRQ&OHUNRI&RXUW
                                                    Alberta Rone
                                         %\VBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                  'HSXW\&OHUN
1',/  1RWLFHRI&RUUHFWLRQ
